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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

William Kelly
                                                          Case No: 2:22-cv-10589
      Plaintiff,                               District Judge: Mark A. Goldsmith
                                               Magistrate Judge: David R. Grand
v.

Corizon Health, Inc., et al.

      Defendants.

MARGOLIS & CROSS                                            CHAPMAN LAW GROUP
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Laurence H. Margolis (P69635)                         Nicholas B. Pillow (P83927)
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SUGGESTION OF BANKRUPTCY AND NOTICE OF AUTOMATIC STAY

      Tehum Care Services, Inc. d/b/a Corizon Health, Inc. (“TCS” or the

“Debtor”), one of the named defendants herein, files this Suggestion of Bankruptcy

and Notice of Automatic Stay and would respectfully show as follows:

                                        1
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      On February 13, 2023 (the “Petition Date”), TCS filed a voluntary petition

pursuant to chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532

(the “Bankruptcy Code”). The case is pending in the United States Bankruptcy

Court for the Southern District of Texas, Houston Division, under Case No. 23-

90086 (CML) (the “Chapter 11 Case”).

      As a result of the commencement of the Chapter 11 Case, section 362 of the

Bankruptcy Code operates as a stay, applicable to all entities, of (i) commencement

or continuation of a judicial, administrative or other action or proceeding against the

Debtor that was or could have been commenced before the commencement of the

Chapter 11 Case, or to recover a claim against the Debtor that arose before the

commencement of the Chapter 11 Case; (ii) the enforcement, against the Debtor or

against the property of their bankruptcy estates, of a judgment obtained before the

commencement of the Chapter 11 Case; (iii) any act to obtain possession of property

of the estate or of property from the estates or to exercise control over property of

the Debtor’s estate; and (iv) any act to create, perfect, or enforce a lien against

property of the Debtors’ estate.

      The stay set forth in 11 U.S.C. § 362(a) became effective automatically upon

the commencement of the Chapter 11 Case. If any party violates the stay, the Debtor

may seek to have such actions deemed void, move for sanctions in the Bankruptcy




                                          2
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Court and recover actual damages, including costs and attorneys’ fees, arising from

the violation of the stay.

                                        Respectfully submitted,
                                        CHAPMAN LAW GROUP


Dated: February 17, 2023                s/Jonathan Lanesky
                                        Jonathan C. Lanesky (P59740)
                                        Nicholas B. Pillow (P83927)
                                        Attorneys for Corizon Defendants
                                        1441 West Long Lake Rd., Suite 310
                                        Troy, MI 48098
                                        (248) 644-6326
                                        jlanesky@chapmanlawgroup.com
                                        npillow@chapmanlawgroup.com

                              PROOF OF SERVICE

             I hereby certify that on February 17, 2023, I presented the
             foregoing paper to the Clerk of the Court for filing and
             uploading to the ECF system, which will send notification
             of such filing to the attorneys of record listed herein and I
             hereby certify that I have mailed by US Postal Service the
             document to the Plaintiff at his listed address.

                                        /s/Jonathan C. Lanesky
                                        Jonathan C. Lanesky (P59740)
                                        jlanesky@chapmanlawgroup.com




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        Case 23-90086 Document
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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                       February 16, 2023
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                       Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                                                    )
In re:                                                              ) Chapter 11
                                                                    )
TEHUM CARE SERVICES, INC., 1                                        ) Case No. 23-90086 (CML)
                                                                    )
                                     Debtor.                        )
                                                                    )

                         ORDER GRANTING COMPLEX CASE TREATMENT

        This case was filed on February 13, 2023. A Notice of Designation as Complex Chapter
11 Bankruptcy Case was filed. Based on its review of the initial pleadings, the Court concludes
that the complex case designation is appropriate. Accordingly, the Court orders:

       1.    The Procedures for Complex Cases in the Southern District of Texas apply to this
case. The procedures are posted on the Court’s website. Compliance with the procedures is
required.

        2.      The Debtor must give notice of this Order to all parties in interest within seven
days. If a party-in-interest objects to the provisions of this Order, that party may file an appropriate
motion within 14 days after service of the Order.

       3.      The Bankruptcy Local Rules apply to this case, subject to the following
modifications:

                 a.   Bankruptcy Local Rule 1001-1(b) does not apply.
                 b.   Local District Court Civil Rule 83.1 applies.
                 c.   Appendix A to the Local Rules of the District Court applies.
                 d.   If a conflict exists between the Bankruptcy Local Rules and the Procedures for
                      Complex Cases in the Southern District of Texas, the Procedures for Complex
                      Cases in the Southern District of Texas govern.


    Signed: __________, 2023
              August 02,
              February 16, 2019
                           2023                             Christopher M. Lopez
                                                            United States Bankruptcy Judge




1
 The last four digits of the Debtor’s federal tax identification number is 8853. The Debtor’s service address is: 205
Powell Place, Suite 104, Brentwood, Tennessee 37027.


4863-5893-1537
